Case 2:03-cr-20396-.]DB Document 115 Filed 04/28/05 Page 1 of 3 Page|D 123

lN THE UNITED STATES DISTRICT COURT " épr/
FoR THE WEsTERN DIsTRICT oF TENNESSEE __, s ,_ w |,_
WESTERN DIVISION stem a cfc an ;» 30

 

UNlTED STATES OF AMERICA,
Plaintiff,

v. Cr. No. 2103cr20396-B

JOHN D. TAYLOR,
Defendant.

ORDER EXTENDING TIME IN WHICH TO SURRENDER

 

The defendant in this case has previously been granted permission by this Court to report to
the designated facility of the Bureau ofPrisons. Defense counsel has requested an extension of time
to report. Upon good cause shown, and Without objection by the United States, this Court hereby
GRANTS the motion.

lt is ORDERED that the Defendant, John D. Taylor, shall report to FCI EL RENO,
Highway 66 West. El Reno. Oklahoma bv 2:00 on MondMne 6. 2005.

lT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
sign one copy of this Order in the proper space below and return it to the Clerk of the Court in the
enclosed self addressed envelope, acknowledging that he has received a copy of this Order, and that

he Will report as ordered to the facility named above.

 

. D NIEL BREEN \
ED sTATEs DISTRICT JUDGE

Approved for(_Entry:

    

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Q\Wl\/\ ~ jim
)_ mm Tms document entered on the docket sheet in compliance

William D.'Massey,QD. Taylor V“‘rh HU'E 35'=""1'!0V32{b) FHCrP on _ "fl‘,

 

Case 2:03-cr-20396-.]DB Document 115 Filed 04/28/05 Page 2 of 3 Page|D 124

ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:
Defendant

 

Date:

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 115 in
case 2:03-CR-20396 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

